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                                  OFFICE OF THE CLERK
                            UNITED STATES DISTRICT COURT
                                Northern District of California

                                       CIVIL MINUTES
 Date: November 5, 2024             Time: 2:42-2:43                  Judge: EDWARD M. CHEN
                                          1 Minutes

 Case No.: 20-cv-03845-EMC          Case Name: Google LLC v. Sonos, Inc.
Attorneys for Plaintiff: Jeffrey Gerchick, Patrick Stafford
Attorneys for Defendant: Alyssa Caridis,

 Deputy Clerk: Vicky Ayala                              Court Reporter: Marla Knox


                      PROCEEDINGS HELD VIA ZOOM WEBINAR
Status Conference – held
                                          SUMMARY
Parties stated appearances. Parties agreed nothing remains in this Court but to file judgment.
Court ordered parties to prepare proposed judgment for Court approval.
